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5                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
6                                       AT TACOMA
7
     UNITED STATES OF AMERICA,                  )     NO. CR09-5088BHS
8                                               )
                     Plaintiff,                 )
9                                               )     ORDER GRANTING MOTION TO
                     vs.                        )     CONTINUE TRIAL
10                                              )
     STEVEN BRADLEY SMITH, and                  )
11 BRADLEY A.G. GARDNER,                        )
                                                )
12                   Defendants.                )
13
             This matter comes before the Court on Defendant Smith’s motion to continue
14
     trial. Dkt. 29. The Court held a telephone conference regarding this motion on March 17,
15
     2009.
16
             Defendant Smith filed a waiver of speedy trial rights through June 30, 2009. Dkt.
17
     34. During the telephone conference, Defendant Gardner opposed Defendant Smith’s
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     motion to continue the trial date to June 30, 2009. Defendant Gardner did not express
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     opposition to a trial date of May 19, 2009. However, he did not file a waiver of speedy
20
     trial rights.
21
             The Court hereby finds that,
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             1. The ends of justice served by granting this continuance outweigh the best
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     interests of the public and the Defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
24
             2. Proceeding to trial absent adequate time for the defense to prepare would result
25
     in a miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).
26
             3. Defendant Smith’s counsel requires time to explore all relevant issues and
     defenses applicable to the case, including additional discovery and investigation, which
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 1 would make it unreasonable to expect adequate preparation for pretrial proceedings or

 2 for trial itself within the time limits established by the Speedy Trial Act and currently set

 3 for this case. See 18 U.S.C. § 3161(h)(7)(B)(iv).

 4         4. Taking into account the exercise of due diligence, a continuance is necessary

 5 to allow the Defendant Smith the reasonable time for effective preparation of his

 6 defense. 18 U.S.C. § 3161(h)(7)(B)(iv).

 7         5. The exclusion from the Speedy Trial clock for Defendant Smith applies to co-

 8 Defendants Gardner. 18 U.S.C. § 3161(h)(6).

 9         Now, therefore it is hereby

10         ORDERED that the trial date is continued from April 7, 2009, to May 19, 2009.

11 The resulting period of delay is hereby excluded for speedy trial purposes under 18

12 U.S.C. § 3161(h)(8)(A) and (B).

13         Pretrial motions are due no later than April 10, 2009.

14         Trial briefs, witness lists, exhibit lists, any written stipulations, motions in limine,

15 proposed form of verdict, and proposed jury instructions shall be filed on or before May

16 7, 2009.

17         Pretrial conference shall be on May 11, 2009 at 10:00 a.m.

18         DATED this 20th day of March, 2009.




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                                                       BENJAMIN H. SETTLE
22                                                     United States District Judge
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     ORDER - 2
